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                                 THE STATE OF NEW HAMPSHIRE
                                                 JUDICIAL BRANCH
                                                   SUPERIOR COURT
 Hillsborough Superior Court Northern District                                                   Telephone: 1-855-212-1234
 300 Chestnut Street                                                                         TTY/'TDD Relay: (800) 735-2964
 Manchester NH 03101                                                                            http://www.courts.state.nh.us


                                       SUMMONS IN A CIVIL ACTION



 Case Name:             State of New Hampshire v National Foam, Inc., et al
 Case Number:           216-2019-CV-00446

 Date Complaint Filed: May 29, 2019
 A Complaint has been filed against 3M Company; Buckeye Fire Equipment Company; Chemguard,
 Inc.; Chemours Company LLC; E.I. Du Pont De Nemours and Company; Kidde-Fenwal, Inc.; National
 Foam, Inc.; Tyco Fire Products LP in this Court. A copy of the Complaint is attached.

 The Court ORDERS that ON OR BEFORE:
 July 18, 2019         State of New Hampshire shall have this Summons and the attached
                       Complaint served upon 3M Company; Buckeye Fire Equipment Company;
                       Chemguard, Inc.; Chemours Company LLC; E.I. Du Pont De Nemours
                       and Company; Kidde-Fenwal, Inc.; National Foam, Inc.; Tyco Fire
                       Products LP by in hand or by leaving a copy at his/her abode, or by such
                       other service as is allowed by law.
August 08, 2019                 State of New Hampshire shall electronically file the return(s) of service
                                with this Court. Failure to do so may result in this action being dismissed
                                without further notice.
30 days after Defendant 3M Company; Buckeye Fire Equipment Company; Chemguard, Inc.;
is served                Chemours Company LLC; E.I. Du Pont De Nemours and Company;
                         Kidde-Fenwal, Inc.; National Foam, Inc.; Tyco Fire Products LP must
                         electronically file an Appearance and Answer or other responsive pleading
                         form with this Court. A copy of the Appearance and Answer or other
                         responsive pleading must be sent electronically to the party/parties listed
                         below.

Notice to 3M Company; Buckeye Fire Equipment Company; Chemguard, Inc.; Chemours
Company LLC; E.I. Du Pont De Nemours and Company; Kidde-Fenwal, Inc.; National Foam,
Inc.; Tyco Fire Products LP: If you do not comply with these requirements you will be considered in
default and the Court may issue orders that affect you without your input.
Send copies to:
 Christopher G. Aslin, ESQ                   NH Attorney Generals Office - DOJ 33 Capitol Street Concord
                                             NH 03301-6397
  K. Allen Brooks, ESQ                       NH Attorney Generals Office - DOJ 33 Capitol Street Concord
                                             NH 03301-6397
  National Foam, Inc.                        141 Junny Road Angier NC 27501
  E.I. Du Pont De Nemours and                974 Centre Road Wilmington DE 19805
NHJB-2678-Se (07/01/2018)           This is a Service Document For Case: 216-2019-CN-00446
                                          Hillsborough Superior Court Northern District
                                                        6/5/2019 11:31 AfUi
                Case 1:19-cv-00800-JD Document 1-1 Filed 07/31/19 Page 2 of 46

   Company
   3M Company                        3M Center St Paul MN 55144-1000
   Tyco Firre Products LP            1400 Pennbrook Parkway Lansd.ale PA 19446
   Chemouts Company LLC              1007 Market Street Wilmington DE 19899
   Chemguard, Inc.                   One'Stanton Street Marinette WI .5414372542
   Buckeye Fire Equipment            110 Kings Road Kings Moiantain NC 28086
   Company
   Kidde-Fenwal, Inc.                One Financial Plaza Hartford C7' 06101
                                                     BY ORDER OF THE COURT

 June 03, 2019                                      W. Michael Scanlon
                                                    Clerk of Court
 (126564)




NHJB-2678-Se (07/01/2018)
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                                THE STATE OF NEW HAMPSHIRE
                                       JUDICIAL BRANCH
                                                SUPERIOR COURT
 Hillsborough Superior Court Northem District                                      Telephone: 1-855-212-1234
 300 Chestnut Street                                                           TTY/TDD Relay: (800) 735-2964
 Manchester NH 03101                                                              http://www.courts.state.nh.us


                                          NOTICE TO DEFENDANT
 Case Name:               State of New Hampshire v National Foam, Inc., et al
 Case Number:             216-2019-CV-00446
 You have been served with a Complaint which serves as notice that this legal action has been filed
 against you in the HiUsborough Superior Court Northern District. Review the Complaint to see
 the basis for the PlaintifPs claim.
 Each Defendant is required to etectronically file an Appearance and Answer 30 days after service.
 You may register and respond on any private or public computer. For your convenience, there is also
 a computer available in the courthouse lobby.
 If you are working with an attorney, they will guide you on the next steps. If you are going to
 represent yourself in this action, go to the court's website: www.courts.state.nh.us, select the
 Electronic Services icon and then select the option for a self-represented party.
        1. Complete the registration/log in process. Click Register and follow the prompts.
         2. After you register, click Start Now. Select Hillsborough Superior Court Northern District
            as the location.
         3. Select "I am filing into an existing case". Enter 216-2019-CV-00446 and click Next.
         4. When you find the case, click on the link and follow the instructions on the screen. On the
            "What would you like to file?" screen, select "File a Response to Civil Complaint". Follow
            the instructions to complete your filing.
         5. Review your Response before submitting it to the court.

IMPORTANT: After receiving your response and other filings the court will send notifications and
court orders electronically to the email address vou nrovide.
A person who is filing or defending against a Civil Complaint will want to be familiar with the Rules of
the Suaerior Court, which are available on the court's website: www.courts.state.nh.us.
Once you have registered and responded to the summons, you can access documents electronically
filed by going to https://odvpa.nhecourt.us/portal and following the instructions in the User Guide. In
that process you will register, validate your email, request access and approval to view your case.
After your information is validated by the court, you will be able to view case information and
documents filed in your case.


If you have questions regarding this process, please contact the court at 1-855-212-1234.




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                                                                                                                             Fil
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                                                                                    Hillsborough Superior Court Northern Distr
                                                                                                                E-Filed DocumE




                               THE STATE OF NEW HAMPSHIRE

 HILLSBOROUGH, SS.                                                                 SUPERIOR COURT
 NORTHERN DISTRICT                                                                 216-2019-CV-00446
                                  STATE OF NEW HAMPSHIRE,

                                                 Plaintiff,

                                                    vs.

                                           3M COMPANY,
                           E. I. DU PONT DE NEMOURS AND COMPANY,
                                  THE CHEMOURS COMPANY L.L.C.,
                                     CHEMGUARD, INC.,
                                   TYCO FIRE PRODUCTS LP,
                          BUCKEYE FIRE EQUIPMENT COMPANY;
                                   KIDDE-FENWAL, INC; and
                                    NATIONAL FOAM, INC.

                                              Defendants.


                                            COMPLAINT

        Plaintift the State of New Hampshire, as trustee of the State's surface and groundwater,

as steward of the State's fish, wildlife, and marine resources, and in its parens patriae capacity,

by and through the New Hampshire Attorney General, files this Complaint against the above-

named Defendants and alleges as follows:

                                      STATEMENT OF THE CASE

               The State brings this action in order to address contanunation of the natural

resources of the State, including lands, waters, and wildlife, caused by fluorinated Class B

firefighting foam that is manufactured with the synthetic per- and polyfluoroalkyl substances

("PFAS") perfluorooctanesulfonic acid ("PFOS"), perfluorooctanoic acid ("PFOA"),

perfluorononanoic acid ("PFNA") and/or perfluorohexanesulfonic acid ("PFHxS") and their

precursors.




                          This is a Service Document For Case: 216-2019-CV-00446
                                Hillsborough Superior Court Northern District
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         2.      In this complaint, the term Aqueous Film-Forming Foam ("AFFF") is used to

 mean fluorinated Class B firefighting foam that contains PFOS, PFOA, PFNA and/or PFHxS

 (includirig all of their salts and ionic states as well as the acid forms of the molecules) and/or

 their chemical precursors.

                As used in this Complaint, the term "natural-resources" includes the ocean and its

 tidal estuaries, wetlands, springs, streams, rivers, lakes, ponds, and other bodies of surface or

ground water, whether natural or artificial, within the boundaries of this State or subject to its

jurisdiction, and furtlier includes all land, fish, shellfish, wildlife, other biota and other such

resources owned, managed; held in trust or otherwise preserved or protected by the State.

        4.      The State is trustee of the surface waters arid grouridwaters located within or

flowing through the bouridaries of the State.

        5.      The State is also the steward of fish, wildlife and marine resources within the State.

        6.      The State owns certain lands in fee within the State, holds title to the beds of great

ponds and tidal waters and holds easement interests in other lands to protect the conservation and

natural resource values of the lands.

        7.      The contamination of groundwater and surface water, fish, wildlife, marine

resources, and other natural resources with PFOS, PFOA, PFNA and/or PFHxS from AFFF has

damaged the value and use (including, but not limited to, beneficial and existence uses) of the

State's natural resources.

        8.     In addition, the State has a sovereign or a quasi-sovereign interest in the quality of

surface and groundwater resources in the State as well as fish, wildlife, marine resources, and other

natural resources in the State.




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         9.      The contamination of groundwater and surface water, fish, wildlife, marine

 resources, and other natural resources with PFOS, PFOA, PFNA and/or PFHxS associated with

 the use or disposal of AFFF has injured New Hampshire citizens throughout the State. As parens

 patriae the State has an interest in ensuring that groundwater, surface water, fish, wildlife,

 marine resources, and other natural resources can be safely used and enjoyed by its citizens and

 that the health and well-being of its citizens is not harmed by such use.

        10.     For instance, PFOS, PFOA, PFNA and/or PFHxS have impacted the State's

groundwater, surface water, fish, wildlife, marine resources, and other natural resources from the

use or storage of AFFF, or the maintenance of equipment used in the application of AFFF, at a

number of locations, including but not limited to: the Pease Air Force Base in Newington; the

New Hampshire State Fire Training Academy facility in Concord; the Rockingham County

Complex/Fire Trauung Facility in Brentwood; the Meadowood Fire Trairiing Facility in

Fitzwilliam and Troy; the Kingston Fire Department; the New Boston Air Force Station Former

Fire Department; the Gilford Fire Training Center; the current and former locations of the

Windham Fire Department; and ,the Fletcher Mountain site in Goffstown.

        11.     As such, the State can seek to remedy, and hereby does seek to remedy, these

injuries over which it has at least a quasi-sovereign interest in its capacity as parens patriae.

        12.    Defendants in this action, 3M Company (f/k/a Minnesota Mining and

Manufacturing Company) ("3M"), Chemguard, Inc. ("Chemguard"), Tyco Fire Products LP

("T.~co"), Buckeye Fire Equipment Company ("Buckeve"); Kidde-Fenwal, Inc ("Kidde-

Fenwal"); and National Foam, Inc. ("National Foam"), are companies that manufactured AFFF

that errtered into the stream of the State's commerce, were used by Federal, State, municipal and

other fire departments and agencies, businesses and other entities, and have contaminated the


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 State's land, waters, sediments, wildlife, marine resources, and other natural resources.

 Collectively 3M, Chemguard, Tyco, Buckeye, Kidde-Fenwal and National Foam are referred to

 as the "AFFF Defendants."

         13.     Deferidants E. I. du Pont de Nemours and Company ("Dupont") and The

Chemours Company L.L.C. ("Chemours") manufacture, distribute and sell fluorosurfactants for

use in the manufacture of A:FFF by some or all of the AFFF Defendants. Collectively DuPont

and Chemours are referred to in this Complaint as "DuPont/Chemours."

        14.     Defendants' manufacture, distribution, and sale of AFFF has caused, and

continues to cause, widespread injury to the State's groundwater and surface water, fish, wildlife,

marine resources, and other natural resources, as well as its citizens.

        15.     Defendants knew or should have known that AFFF would cause injury to

groundwater and surface water, fish, wildlife, marine resources, and other natural resources of

the State, as well as its citizens.

        16.     Defendants knew or should have known that PFOS, PFOA, PFNA and/or PFHxS

in AFFF would be released into the environment.

        17.     Defendants knew or should have known that such releases from the use or

disposal of AFFF would injure the State's groundwater and surface water, fish, wildlife, marine

resources, and other natural resources, thereby injuring public health and welfare, as has

occurred and is continuing to occur within the State.

        18.     Defendants knew or should have known that such releases from the use or

disposal of AFFF would make groundwater and surface water unfit for drinking and potentially

render certain biota such as fish and game unfit for consumption.




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        19.       Defendants knew or should have known that PFOS, PFOA, PFNA and/or PFHxS,

 when released into the environment from the use or disposal of AFFF, would bioaccumulate in

 people, biota and the food 'web in general and thereby threaten public health and welfare and the

 environment, as has occurred and is continuing to occur within the State as well as its citizens.

        20.      The Defendants' products were defective in design in a manner that was

unreasonably dangerous to users or consumers including the State and its citizens on whose

behalf it acts as parens patriae.

        21.      The defective products were sold by the Defendants who are in business of selling

such products.

        22.      The use of the products was reasonably foreseeable by the Defendants.

        23.      The products caused injury to users or corisumers including the State and its

citizens on whose behalf it acts as parens patrfae, or the property of users and consumers.

        24.      The losses, damages and harms suffered by the State described herein would not

have occurred but for the conduct of the Defendants, and the Defendants' conduct was a

substantial factor in causing the losses, damages and harms.

       25.       The Defendants failed to warn of the dangers of their products.

       26.       Accordingly, the State is bringing this action to require Defendants to pay all of

the costs, expenses, and damages associated with the Defendants' acts and oniissions as alleged

in this Complaint, including but not limited to such costs, expenses and damages for: (1) the

investigation, remediation, cleanup, restoration, removal, treatment and monitoring related to the

contamination of the State's groundwater and surface water, fish, wildlife, marine resources, and

other natural resources; (2) the provision of potable drinking water where drinking water

supplies have been or will be contaminated; (3) implementation of treatment technologies
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 necessary to eliminate further injury to soil, groundwater and surface water, sediment, fish,

 wildlife, marine resources, and other natural resources and to human health and the environment;

 (4) costs associated with safely and properly disposing of the Defendants' AFFF; (5) costs

 associated with the testing for and evaluation and treatment of contamination in public and

 private wells contaminated or potentially contaminated from the use or disposal of AFFF; and (6)

all such other costs and expenses that have been or will be incurred as a result of the Defendants'

acts or omissions as alleged in this Compiaint.

        27:     Firially, the State is also seeking from Defendants all damages to which the State

is entitled to recover, including damages for injuries to groundwater and surface water, fish,

wildlife, marine resources, and other natural resources and all other damages, costs, attorneys'

fees and equitable relief to which it may be entitled.

                                       SCOPE OF THIS ACTION

       28.     The State asserts the causes of action described in this Complaint in its capacity as

sovereign, as trustee of public trust resources, as an owner of property or interests in property

impacted by the Defendants' products, and pursuant to its authority to act as parens patriae as

described above.

       29.     Through this action, the State is not seeking damages, remediation, restoration or

any other relief with respect to any contamination from PFOS, PFOA, PFNA and/or PFHxS that

is not related to the manufacture and use of AFFF, as damages from those compounds that are

not from the manufacture and use of AFFF are the subject of a separate action.




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                                              THE PARTIES

         30.    Plaintiff State of New Hampsliire is represented by and through the Attorney

 General of the State of New Hampshire with principal offices at 33 Capitol Street, Concord, New

 Hanipshire,

        31.     Defendant 3M is a corporation organized and existing under the laws of the State

 of Delaware, with its principal place of business located at 3M Center, St. Paul, Minnesota

 55144-1000.

        32.     3M does business throughout-the United States, including conducting business in

New Hampshire, and is registered to do business in New Hampshire with the Secretary of State.

        33.     Defendant Tyco Fire Products LP ("Tyco") is a limited partnership oigariized

under the laws of the State of Delawaie, with its principal place of business located at 1400

Pennbrook Parkway, Lansdale, PA 19446.

        34.    Tyco manufactures the Ansul brand of products and is the successor-in-interest to

Ansiil Company (collectively, ` Iyco/Ansul").

        35.    Tyco does business throughout the United States, including conducting business

in New Hampshire.

        36.    Defendant Chemguard, Inc. ("Chemguard") is a corporation organized under the

laws of the State of Texas, with its principal place of business located at One Stanton Street,

Marinette, Wisconsin 54143-2542.

       37.     Chemguard does business throughout the United States, including conducting

business in New Hampshire.

       38.     Defendant Buckeye Fire Equipment Company ("Buckeve") is a corporation

organized under the laws of the State of Ohio, with its principal place of business located at 110


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 Kings Road, Kings Mountain, North Carolina 28086.

           39.    Buckeye does business throughout the United States, including conducting

 business in New Hamp§hire, and has been registered to do business in New Hampshire with the

Secretary of State.

          40.    Defendant Kidde-Fenwal, Inc. ("Kidde-Fenwal") is a corporation organized under

the laws of the State of Delaware, with its principal place of business iocated at One Financial

Plaza, Hartford, Connecticut 06101.

          41.    Kidde=Fenwal is the successor-in-interest to Kidde Fire Fighting, Inc. (f/k/a

Chubb National Foam, Inc. f/kla National Foam System, Inc.) (collectively, "Kidde/Kidde

Fire").

          42.    Kidde-Fenwal does business throughout the United States, including conducting

business in New Hampshire.

          43.    Deferidant National Foam, Inc. ("National Foam") is a corporation organized

under the laws of the State of Delaware, with its principal place of business located at 141 Junny

Road, Angier, North Carolina 27501.

          44.    National Foam manufactures the Angus brand of products and is the successor-in-

interest to Angus Fire Armour Corporation (collectively, "National Foam/An s Fire").

          45.    National Foam/Angus Fire does and/or has done business throughout the United

States, including conducting business in New Hampshire.

          46.    Defendant DuPont is a corporation duly organized under the laws of the State of

Delaware, with its principal place of business located at 974 Centre Road, Wilmington, Delaware

19805.




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           47.    DuPont does busiriess throughout the United States, including conducting business

 in New Hampshire, and is registered to do business in New Hampshire with the Secretary of State.

          48.     Defendant The Chemours Company L.L.C. ("Chemours") is a corporation duly

 organized under the laws of the State of Delaware, with its principal place of business located at

 1007 Market Street, Wilmington, Delaware 19899.

          49.     In 2015, DuPont spun off its performance chemicals business to Chemours, along

 with certain environmental liabilities.

          50.    Ghemours does business throughout the United States, including conducting

business in New Hampshire, and is registeied to do business in New Hampshire with the

Secretary of State.

                                      JURISDICTION AND VENUE

          51.    This Court has jurisdiction over this matter pursuant to RSA 491:7. Venue is

proper in this Court because at least one of the sites that has been impacted by AFFF is located in

Hillsborough County in Goffstown.

                                 AFFF AND THE PFAS COMPOUNDS

          52.    PFAS are a family of chemical compounds containing fluorine and carbon atoms.

          53.    PFAS have been used for decades in the manufacture of AFFF.

          54.    AFFF is a fire suppressing foam used to extinguish flammable liquid fires,

including jet-fuel fires, aviation-related fires, hangar fires, ship fires, vehicle fires and chemical

fires, and is routinely used to train firefighters and test firefighting equipment.

          55.    The PFAS family of chemicals are entirely human-made and do not exist in

nature.




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         56.    This Complaint brought by the State is for costs, damages, and natural resource

 damages caused by four PFAS compourids: PFOS, PFOA, PFNA and PFHxS and their

 precursors from the use of AFFF in New Hampshire that was manufactured by the D'efendants.

         57.    3M's AFFF products, created using an electrochemical fluorination ("ECF")

 process, contain PFOS, PFOA, PFNA and/or PFHxS and/or their precursors.

         58.    The remaining AFFF Defendants' AFFF products contain PFOA, PFNA, their

 precursors and/or other non-perfluorosulfonate compounds created using a telomerization

 process or other processes.

         59.    AFFF inanufactured by the AFFF Defendants is a fungible product and lacks

traits that would make it feasible to identify the product as being manufactured, distributed, or

sold by a particular Defendant.

        60.    Due to this fungibility, it may not be possible to identify the original manufacturer

of the AFFF released at any.particular site.

        61.    Any inability of the State to identify the original manufacturer of the specific

AFFF products released into the State's resources is a result of the fungibility of the products,

and not as a resuh of any action or inaction by the State.

        62.    When used as intended, AFFF will contaminate the environment in a variety of

ways, including but not limited to, through surface water and groundwater, in relation to

firefighting events, training exercises, fire preparations, equipment maintenance and other

activities:

        63.    PFOS, PFOA, PFNA and PFHxS have characteristics that cause extensive and

persistent environmental contamination.

        64.    Specifically, PFOS, PFOA, PFNA and PFHxS are persistent, toxic and


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 bioaccumulative as well as mobile.

        65.     PFOS, PFOA, PFNA and PFHxS are mobile in that they are soluble and do not

easily adsorb (stick) to soil particles.

        66.     PFOS, PFOA, PFNA arid PFHxS are readily transported through the air as well as

the soil and into groundwatei where they can migrate long distances.

        67.     PFAS are persistent in that they do not readily biodegrade or chemically degrade

in the environment or in conventional treatment systems for drinking water or wastewater.

        68.    PFOS, PFOA, PFNA and PFHxS are thermally, chemically, and biologically

stable in the environment and resistant to biodegradation, atmospheric photo-oxidation, direct

photolysis, and hydrolysis.

       69.     Once these PFAS compounds are applied, discharged, disposed ot or otherwise

released onto land or into the air, soil, sediments or water, they migrate through'the environment

and into groundwater, surface water, fish, wildlife, niarine resources, and other natural resources.

       70.     These compounds resist natural degradation and are difficult and costly to remove

from soil and water.

       71.     PFOS, PFOA; PFNA and PFHxS bioaccumulate, biopersist, and biomagnify in

the food web including in people and other organisms.

       72.     Exposure to certain PFAS has been associated with several negative health

outcomes in both humans and animals, including but not limited to:

               a.      Altered growth, learning and behavior of infants and older children;
               b.      Loweriiag a woman's chance of getting pregnant;.
               C.      Interfeience with the body's natural hormones;
               d.      Increased cholesterol Ievels;
               e.      Modulation of the immune system;
               f.      Increased risk of certairi cancers; and
               g.      Increased risk of ulcerative colitis.

       73.    Contamination from PFOS, PFOA, PFNA and/or PFHxS presents a threat to
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 public health and natural resources.

         74.    in addition to drinking contaminated water, huinans can be exposed to PFOS,

 PFOA, PFNA and PFHxS through inhalation, ingestion of coiitaminated food, and denmal

 contact.

        75.     The State currently does nof have the funding or infrastructure to properly address

 PFAS contanunation from the use or disposal of AFFF in New Hampshire.

        76.     Defendants have known of health and environmental hazards associated with

PFAS compounds for decades.

        77.     The AFFF Defendants' manufacture, distribution and/or sale of AFFF resulted in

the release of PFOS, PFOA, PFNA and/or PFHxS into the enviroriment.

        78.     The AFFF Defendants, through tlieir manufacturing, distribution and/or sale of

AFFF, and through their involvement and/or participation in the creation of training and

instructional materials and activities, knew, foresaw, and/or should have-known and/or foreseen

that PFOS, PFOA, PFNA and/or PFHxS would contaminate the environment.

        79.    The AFFF Defendants were and/or should have been aware, knew and/or should

have known, and/or foresaw and/or should have foreseen that their marketing, development,

manufacture, distribution, release, training of users of, production of instructional materials

about, sale and/or use or disposal of AFFF, including in New Hampshire, would result in the

contamination of the State's groundwater, surface water, fish, wildlife, marine resources, and

other natural resources and real property.

       80.     The AFFF Defendants' products were unreasonably dangerous and the

Defendants failed to warn of this danger.




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          81.    DuPont/Chemours' manufacture, distribution and/or sale of fluorosurfactants used

 in the manufacture of AFFF resulted in the release of-PFAS into the environment.

         82.     DuPont/Chemours,'through their manufacturing, distribution and/or sale of

 fluorosurfactants used in the manufacture of AFFF, and through their involvement and/or

participation in the creation of training and instructional materials and activities, knew, foresaw,

and/or should have known and/or foreseen that PFAS woiild contaminate the environriient.

         83.    Dupont/Chemours were and/or should have.been aware,:knew and/or should have

known, and/or foresaw and/or should have foreseen that their mar•keting; development,

manufacture, distribution, release; training of users of, production of instructional materials

abotit, sale and/or use or disposal of fluorosurfactarits used in the manufacture of AFFF,

including in New Hampshire, would result in the contamination of the State's groundwater,

surface water, fish, wildlife, marine resources, and other natural resources and real property.

         84.    The Defendants' products were unreasonably dangerous and the Defendants

failed to wa"rn of this danger.

                       Defendants'. History of Manufacturing and iSellinE AFFF

         85.    3M began to produce PFAS by ECF in the 1940s.

         86.    In the 1960s, 3M used its fluorination process to develop AFFF.

         87.    3M manufactured, marketed, and sold AFFF and the raw materials for production

of AFFF froin the 1960s to the early 2000s.

         88.    National Foam and Tyco/Ansul began to manufacture, market, and sell AFFF in

the 1970s.

         89.    Angus Fire and Chemguard began to manufacture, market, and sell AFFF in the

1990s.


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        90.     Buckeye began to manufacture, market, and sell AFFF in the 2000s.

        91.     From the 1960s through-2001, the United States Department of Defense

 purchased AFFF exclusively from 3M and Tyco/Ansul.

        92.     Beginning in 1951, DuPont began purchasing PFOA from 3M for use in the

 manufacturing process for its name-brand product Teflon®, commonly known for its use as a

 coating for non-stick cookware.

        93.    DuPont has also used PFAS in other name-brand products such as Stainmaster®.

        94.    In 2000, 3M announced it would,phase out and find substitutes for its PFOS

chemistr:y.

        95.    In 2001, DuFont became a founding member of the Fire Fighting Foam Coalition

("FFFC").

        96.    In part, through its involvement in the FFFC, DuPont actively marketed its

fluorosurfactants to AFFF inanufacturers for use in the production of AFFF.

        97.    Some or all of the AFFF inanufactured and sold by the AFFF Defendants

contained fluorosurfactants manufactured arid sold by DiiPont.

       98.     In response to pressure from the United States Environmental Protection Agency.

("EPA"), 3M began to phase out production of PFOS and PFOA products in 2000.

       99.     On May 16, 2000, 3M issued a news release asserting that "our products are

safe," citing the company's "principles of responsible environmental management" as the reason

to cease production.

       100. On the same day as 3M's phase out announcement, an EPA press release stated:

"3M data supplied to EPA indicated that these chemicals are very persistent in the environment,




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 have a strong tendency to accumulate in human and animal tissues and could potentially pose a

 risk to human health and the environment over the long term."

        101. In a memo explaining its decision, EPA stated that PFOS "appears to combine

 Persistence, Bioaccumulation, and Toxicity property to an extraordinary degree."

        102. After 3M exited the AFFF inarket, the remaining AFFF Defendants continued to

manufacture and sell AFFF.

        103. The AFFF Defendants knew their customers warehoused large stockpiles of

AFFF and touted the shelf-life of AFFF.

        104. While the AFFF Defendants phased out production or transitioned to new

formulas of AFFF, they did not instruct users of AFFF tliat they should not use AFFF that

contained PFOS, PFOA, PFNA and/or 1'FHxS, andlor their precursors.

        105. The AFFF Defendants further did not act to remove AFFF from the stream of

commerce.

       106. The AFFF Defendants did not warn public entities or others that AFFF would

harm the environment, endanger hurnan health, or cause them to incur substantial costs to

investigate and clean up contamination of groundwater and other natural resources and to

dispose of AFFF.

       107. Accordingly, for many years affter the original sale of AFFF, these AFFF products

were and are still being applied directly to the ground, discharged into floor drains and washed

into sediments, soils and waters, hanning the environment and endangering human health.

       108. The AFFF Defendants did not properly instruct users, consumers, public officials

or those who were in a position to properly guard against the dangers of PFAS, that they needed

to properly dispose of their stockpiles of AFFF or how to properly dispose of AFFF.


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                          3M's KNOWLEDGE OF THE DANGERS OF PFAS

          109. In the 1950s, based on its own internal studies, 3M concluded that PFAS are

 "toxic."

          110. 3M knew as early as the mid-1950s that PFAS bioaccumulate in humans and

 animals.

          111. By the early 1960s, 3M understood that some PFAS are stable and persist in the

 environment and that they do not degrade.

         112. 3M knew as early as 1960 that chemical wastes from its PFAS manufacturing,

 facilities that were dumped to landfills could leach into groundwater and otherwise enter the

environment. An internal meino from 1960 described 3M's understanding that such wastes

"[would] eventually reach the water table and pollute domestic wells."

         113. As early as 1963, 3M was aware that its PFAS products were stable in the

environment and would not degrade affter disposal.

         114. 3M began monitoring the blood of its employees for PFAS, as early as 1976,

because 3M was concemed about health effects of PFAS.

         115. 3M documents from 1977 relating to these worker tests further confirm that PFAS

bioaccumulate.

         116. By at least 1970, 3M was aware that its PFAS products were hazardous to marine

life.

         117. One study of 3M's PFAS around this time had to be abandoned to avoid severe

local pollution of nearby surface waters.

         118. In 1975, 3M found there was a"universal presence" of PFOA in blood sennn

samples taken from across the United States.


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         119. Since PFOA is not naturally occurring, this fmding reasonably should have

 alerted 3M to the likelihood that its products were a source of this PFOA—a possibility that 3M

 considered internally but did iiot share outside the company.

        120. This finding also should have alerted 3M to the likelihood that PFOA is mobile,

 persistent, bioaccumulative, and biomagnifying, as those characteristics would explain the

 presence of PFOA in blood froin 3M's products.

        121. Other studies by 3M in 1978 showed that PFOA and PFOS are toxic to monkeys.

        122. In the late 1970s, 3M studied the fate and transport characteristics of PFOS in the

environment, including in surface water and biota.

        123. A 1979 report iirew a direct line between effluent from 3M's Decatur, Alabama

plant and PFAS bioaccumulating in fish tissue taken from the Tennessee River.

        124. 3M resisted calls from its own ecotoxicologists going back to 1979 to perform an

ecological risk assessment on PFOS and sirriilar chemicals.

        125. 3M's own ecotoxicologists continued raising concerns to 3M until at least 1999.

        126. In 1983, 31VI scientists opined that conc.erns about PFAS "give rise to legitimate

questions about the persistence, accumulation potential, and ecotoxicity of [PFAS] in the

environment."

       127. In 1984, 3M's internal analyses demonstrated that PFAS were likely

bioaccumulating in 3M fluorochemical employees.

       128. 31VI's own employees recognized that 3M was concealing known dangers relating

to PFAS. For example, in a 1999 resignation letter, an employee stated that "I can no longer

participate in the process that 3M has established for the management of [PFAS.] For me, it is




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 unethical to be concerned with markets, legal defensibility and image over environmental

 safety."

        129. In response to pressure from the U.S. EPA, 3M began to phase out production of

 PFOS and PFOA products in 2000.

        130. On May 16, 2000, 3M issued a news release asserting that "our products are

 safe," citing the company's "principles of responsible environmental management" as the reason

 to cease production.

        131. On the same day as 3M's phase out announcement, an E'PA press'release stated:

"3M data supplied to EPA indicated that these chemicals are very persisteiit in the environment,

have a strong tendency to accumulate in human and animal tissues and could potentiallypose a

risk to human health and the environment over the long term."

        132. 31VI knew or should have known that in their intended and/or common use,

products containing PFAS would very likely injure and/or threaten public health and the

environment in New Hampshire.

        133. Despite overwhelming studies to the contrary, 3M, to this day, publicly claims

that "[w]e do not believe that PFOS and PFOA cause harm to human health at levels that are

typically found in the environment" and that "[w]e do not believe thete is a public health issue

related to PFOA and PFOS."

                 DUPONT'S KNOWLEDGE OF THE DANGERS OF PFAS

       134.      DuPont company scientists issued internal wanungs about the toxicity

associated with their PFOA products as early as 1961.

       135. DuPont's Toxicology Section Chief opined that such products should be "handled

with extreme care," and that contact with the skin should be "strictly avoided."


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         136. In 1978, based on information it received from 3M about elevated and persistent

 fluorine levels in workers exposed to PFOA, DuPont initiated a plan to review and monitor the

 health conditions of potentially exposed workers in order to assess whether any negative hea'Ith

 effects could be attributed to PFOA exposure.

         137. This monitoring plan involved obtaining blood samples from the workers and

 analyzing them for the preserice of fluorine.

        138. By 1979, DuPoiit had data indicating that its workers exposed to PFOA had a

signifcantly higher incidence of health issues than did unexposed workers.

        139. DuPont did not report this data or the results of its worker health analysis to any

govennment agency or community.

        140. The following year, DuPont inteinally confirined that PFOA "is toxic," that

humans accumulate PFOA in their tissue, and that "continued exposure is not tolerable."

        141. Not only did DuPont know that PFOA accuinulates in humans, but it was also

aware that PFOA could cross the placenta from an exposed mother to her,gestational child:

        142.    In fact, DuPont had xeported to EPA in Ma'rch i 982 that results from a rat study

showed PFOA crossing the placenta if present in maternal blood, but DuP.ont concealed the

results of intemal studies of its own piant workers.

        143. While DuPont knew about this toxicity danger as early as the 1960s, DuPont also

was aware that PFAS was capable of contaminating the surround.ing environment and causing

human exposure.

       144. By late 1981, DuPont also knew that PFOA could be emitted into the air from its

facilities, and that those air emissions could travel beyond the facility boundaries and enter the

environment and natural resources.


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        145. Further, no later than 1984, DuPont was aware that PFOA is biopersistent.

        146. DuPont was long aware that the PFAS it was releasing from its facilities was

leaching into groundwater used for public drinking water.

        147. ABer obtaining data on these releases and the consequent contamination near

DuPont's plant in West Virginia, DuPont, in 1984, held a meeting at its corporate headquarters in

Wilmington, Delaware, to discuss health and environmental issues related to PFOA (the "1984

Meetin.g„).

        148. DuPont einployees who attended the 1984 Meeting discussed available

technologies that were capable of controllirig arid reducing PFOA releases from its

maniifacturing facilities, as well as potential replacemeiit materials.

        149. DuPont chose not to use either available technologies or replacement materials,

despite knowing of PFOA's toxicity.

        150. During alie 19841VIeeting, DuPont employees in attendance spoke of the PFOA

issue as "one of corporate image, and corporate liability."

       151. They were resigned to DuPont's "incremental liability from this point on if we do

nothing" because DuPont was "already liable for the past 32 years of operation."

       152. They also stated that the "legal and medical [departments within DuPont] will

likely take the position of total elimination" of PFOA use in DuPont's business, and that these

departments had "no incentive to take any other position."

       153. DuPont's own Epidemiology Review Board ("ERB") repeatedly raised concerns

about DuPont's statements to the public that there were no adverse health effects associated with

human exposure to PFOA.




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        154. For example, in February 2006, the ERB "strongly advise[d] against any public

 statements asserting that PFOA does not pose any risk to health" and questioned "the evidential

 basis of [DuPont's] public expression asserting, with what appears to be great confidence, that

 PFOA does not pose a risk to health."

        155. In 2004, the U.S. EPA filed an action against DuPont based on its failure to

 disclose toxicity and exposure information for PFOA, in violation of federal environmental laws.

        156. DuPont eventually settled the action by agreeirig to pay over $16 million in civil

administrative penalties and supplemental environmental projects.

        157. The U.S. EPA called the settlement the "largest civil adniiriistrative penalty EPA

has ever obtairied under any federal erivironmental statute."

        158. DuPont/Chemours knew or should have knowri that in their intended and/or

common use, products containing PFAS would very likely injure and/or threaten public health

and the environment in New Hampshire.

             OTHER DEFENDANTS' KNOWLEDGE OF THE DANGERS OF PFAS

       159. Tyco/Ansul, Chemguard, Buckeye, Kidde/Kidde Fire and National Foam/Angus

Fire knew, or at the very least should .have known, that in their intended and/or common use,

their AFFF products would harm the environment and human health.

       160. Tyco/Ansul, Chemguard, Buckeye, Kidde/Kidde Fire and National Foam/Angus

Fire knew, or at the very least should have known that, their AFFF products would injure the

State's groundwater and surface water, fish, wildlife, marine resources, and other natural

resources.

       161. lnformation regarding PFAS compounds was readily accessible to each of the

above-referenced Defendants for decades because each is an expert in the field of AFFF


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 manufacturing and/or the materials needed to manufacture AFFF, and each has detailed

 information and uriderstanding about the chemical compounds that form AFFF products.

        162. The Firefighting Foam Coalition ("FFFC"), an AFFF trade group, was formed in

 2001 to advocate for AFFF's continued viability.

        163. DuPont/Chemours, which as is described above had extensive kriowledge about

 the toxicity associated with PFAS, was a member of the FFFC.

        164. All of the Defendants, with the exception of 3M, were members of the FFFC

("FFFC Defendants").

        165. THrough their involvemeiit in the FFFC, as well as a variety of other tlade

associations and groups, FFFC Defendants shared knowledge and information regarding PFOA.

        166. The FFFC Defendants worked together to protect AFFF frorn scrutiny.

       167. Their close cooperation iricluded messaging, on PFOA's toxicological profile.

       168. The FFFC's efforts were designed to shield its members and the AFFF industry

from the detrimental impact of the public and regulators leanvng about the harms of PFOA to

human health and the environment.

       169. FFFC Defendants regularly published newsletters and attended conferences

bolstering their AFFF products.

       170. These coordinated efforts by the FFFC Defendants were meant to dispel concerns

about the impact AFFF had on the environment and human health. They worked in concert to

conceal known risks of their AFFF from the government and public.

       171. FFFC Defendants repeated the same message for years: Only one PFAS

chemical, PFOS, had been taken off the market. Since the FFFC Defendants' products did not

contain PFOS, they claimed their products were safe.


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         172. FFFC Defendants knew the use of their AFFF products presented a similar threat

 to human health and the environment.

        173. While this was known to FFFC Defendants, it was not fully understood by the

 users of AFFF, the piiblic and regulators, includirig the State.

                                 DUPONT'S SPINOFF OF CHEMOURS

        174. In February 2014, DuPont formed The Chemours Company as a wholly-owned

subsidiary.

        175. In July 2015, DuPont used Chemours to spin off its `*rformance chemicals"

business line.

        176. At the tiriie of the spino#t the perforinance chemicals division consisted of

DuPont's Titanium Technologies, Chemical Solutions and Fluorochemicals seginents (the

"Performance Chemicals Busine"ss").

        177. Until the spinoffwas complete, Chemours was a wholly-owned subsidiary of

DuPont. Although Chemours had a separate board, the board was controlled by DuPont

emplo,yees.

        178. Prior to the spinoff of Chemours, in 2005, DuPont agreed to pay $10.25 million to

resolve eight counts brought by the United Stated Environmental Protection Agency ("EPA")

alleging violations of the Toxic Substances Control Act ("TSCA") and the Resource

Conservation and Recovery Act ("RCRA") concerning the toxicity of PFAS compounds. At the

time, it was the largest such penalty in history.

       179. DuPont also promised to phase out production and use of PFOA by 2015.

       180. Also in 2005, DuPont settled a class action lawsuit filed on behalf of 70,000

residents of Ohio and West Virginia for $343 niillion.


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         181. Under the tenns of the 2005 class action settlement, DuPont agreed to fund a

 panel of scientists to determine if any diseases were linked to PFOA exposure, to filter local

 water for as long as C-8 concentrations exceeded regulatory thresholds, and to set aside $235

 million for ongoing medical monitoring of the affected community.

        182. A$er 8 years, the C-8 Science Panel found several significant diseases, including

 cancer, linked to PFOA.

        183. Thereaffter, more than 3,500 personal injury clainns were filed in Ohio and West

Virginia as part of the 2005 settlement that were consolidated into a multidistrict litigation court

in Ohio (the `ohio:1VIDL").

        184. Juries in three bellwether trials returned'multi-million dollar verdicts against

DuPont, awarding compensatory damages and, in two cases, punitive damages to plaintiffs who

claimed PFOA exposure caused tlieir illiiesses.

        185. Once the spinoff was complete, seven new members of the Chemours board were

appointed, for an eight meiriber board of d,irectors .of the new public conipany.

        186. The new independent board appointed upon the completion of the spinoffdid not

take part in the negotiations of the terms of the separation.

        187. In addition to the transfer of assets, Ehemours accepted broad assumption of

liabilities for DuPont's historical use, manufacture, and discharge of PFAS, although the specific

details regarding the liabilities that Cheniours assumed are set forth in the non-public schedules.

       188. Within the publicly available information about the transfer is the fact that

Chemours agreed to indemnify DuPont against, and assumed for itself, all "Chemours

Liabilities," which is defined broadly to include, among other.things, "any and all liabilities




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 relating," "primarily to, arising primarily out of or resulting primarily from, the operation of or

 conduct of the [Performance Chemicals] Business at any time."

         189. Chemours agreed to indemnify DuPont against and assume for it§elf the

 Performance Chemical Business's liabilities regardless o.f• (i) when or where such liabilities

 arose; (ii) whether the facts upon which they are based occurred prior to, on, or subsequent to the

 effective date of the spinoff; (iii) where or against whom such liabilities are asserted or

 determined; (iv) whether arising from or alleged to arise from negligence, gross riegligence,

 recklessness, violation of law, fraud or misrepresentation by an.y niember of the DuPont group or

 the Cheinours group; and (v) which entity is named in any action associated with any liability.

        190. Chemours agreed to indemnify DuPont from, and assume all, environmerital

 liabilities that arose prior to the spinoff if they were `primarily associated" witli the Performance

Chemicals Business.

        191. Such liabilities were deemed "primarily. associated" if DuPont reasonably

determined that 50.1 % of the liabilities were attributable to the Performance Chemicals Business.

        192. Among the environmental liabilities assumed by Chemours was litigation over

benzene, a carcinogen released from some of DuPont's plants.

        193. In December 2015, a Texas jury awarded $8.4 million to a painter who developed

leukemia a8er using paints with benzene for years; with at least 27 more benzene cases pending

as of Septeriiber 30, 2016.

        19.4: Chemours is also obligated to clean-up Pompton Lakes, New Jersey, where

DuPont manufactured explosives from 1902 to 1994, and where lead salts, mercury, volatile

organic compounds, explosive powders, chlorinated solvents, and detonated blasting caps still




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 contaminate groundwater and soil. Chemours' SEC filings estimate that the remediation, which

 began in 1985, may cost as much as $119 millioii to complete.

         195. Chemours also agreed to use its best efforts to be fully substituted for DuPont

 with respect to "any order, decree, judgrrient, agreement or Action with respect to Chemours

 Assumed Environmental Liabi'lities . . . ."

        196. In addition to the assumption of such liabilities, Cliemours also provided broad

 indemnification to DuPoiit in connection with these liabilities, which is uncapped and does not

have a survival period.

        197. The effect of creation of Chemours was to segregate a large portion of DuPont's

environmental lrabilities, including liabilities related to its PFAS•chemicals and products.

        198. The consolidation of DuPont's performance chemical liabilities has potentially

limited the availability of fdnds arising out of DuPont's liabi'lity.

        199. As Chemours explained in its November 2016 SEC filing: "[s]ignifcant

unfavorable outcomes in a nurnber of cases in the [Ohio] NIDL could have a material adverse

effect on Chemo.urs consolidated financial position, results of.operations or liquidity."

        200. On February 13r 2017, DuPont and Chemours, agreed to pay $671 million to

resolve the Ohio 1VIDL.

       201. Cheinours also agreed to pay $25 million for future PFOA costs not covered by

the settleinent for each of the next five years (up to an additional $125 million).

       202. DuPont also agreed to cover additional amounts up to $25 million for five years.

       203. At the time of the t'ransfer of its Performance Chemicals Business to Chemours,

DuPont had been sued, threatened with suit and/or had knowledge of the likelihood of litigation




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 to be filed regarding DuPont's liability for damages and injuries from the manufacture of PFAS

 compounds and products that contain PFAS compounds.

                                         AFFECTED RESOURCES

          204.    PFOS, PFOA, PFNA and/or PFHxS have been found in soil, groundwater, surface

 water, fish, wildlife, marine resources, and other natural resources in New Hampshire associated

with the use or disposal of AFFF.

          205. As a result of contamination from the use or disposal of AFFF, the resources

described above have been dinvnished in quality or have been rendered unfit for public trust

purposes (e.g., benefcial use such as drinking, swimming, and fishing, as well as existence

value).

          206. New Hampshire citizens have been deprived of safe drinking water due to the

presence of PFOS, PFOA, PFNA and/or PFHxS from Defendants' AFFF in the State's

groundwater and surface waters.

          207. Groundwater, surface water, fish, wildlife, marine resources, and other natural

resources also possess intrinsic (i. e., inherent existence) values which have been injured by the

presence of PFOS, PFOA, PFNA and/or PFHxS from Defendants' AFFF.

          208.. New Hampshire has been deprived of the full use and enjo.yment of its public trust

resources, and the intrinsic value of its natural resources has been diminished, due.to the

presence of PFOS, PFOA, PFNA and/or -PFHxS from the Defendants' AFFF.

       209.      Defendants' acts or omissions have caused or contributed to these releases.

       210. Because of the Defendants' failure to disclose risks known to them or risks they

should have known about, the risks associated with PFAS and AFFF containing PFAS were




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 unknown to the State or to users and consumers of AFFF, including the owners or operators of

 sites at which AFFF was used.

        211.    Because of the Defendants' failure to disclose risks known to them or risks they

 should have known about, the risks associated with PFAS were unknown to the users of AFFF,

 were unknown to the State, and were generally unknown to those other than the Defendants who

 could have effectively limited the damages described above.

        212. 'Phe Defendants' products were unreasonably dangerous and the Defendants

failed to warn of this danger.

        213. In addition to existing remediation methods, new and expensive methods of

renmediation and treatment will be riecessary to deal with the type and character of the

contamination desciibed above.

                                               Grouridwater

       214. Groundwater—that is, water that exists beneath the Earth's surface—is an

extremely important natural resource for the people of New Hampshire.

       215.    Most of New Hampshire's drinking water, whether from public water systems or

private wells, comes from groundwater sources.

       216. Approximately 46% of New Hampshiie's population obtains its drinking water

from private wells.

       217. Groundwater is also used to irrigate agricultural crops and to provide drinking

water to animals raised for human consumption in New Hampshire.

       218.    Groundwater and the other natural resources of the State are unique resources that

help sustain the State's economy.




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         219.    PFOS, PFOA, PFNA and/or PFHxS from the AFFF Defendants' AFFF have

 reached and adversely affected groundwater throughout New Hampshire.

                                               Surface Water

        220.    Surface waters are a critical ecological resource of New Hampshire. New

 Hampshire's surface water is a source of drinkirig water in the State.

        221. Approximately fiffty surface water resources are used as sources of public

drinleing water in New Hairipshire.

        222.    Surface water is also used to irrigate agricultural crops arid provide drinking water

to animals raised for.human consumption in New Hanipshire.

        223.    Surface water inNew'Hampghire is also used for other coriunercial arid

recreational purposes, such as swimming, fishing, and the harvest of marine resources.

        224.    The tourism and recreation industries, which are vital to the State's economy, are

dependent on clean water.

        225.    Surface waters also provide commercial, recreational, aesthetic, and ecological

value, including b.y supporting aguatic ecosystems, fish and marine resources, nearby

communities and the citizens and visitors in the State.

       226.     PFOS, PFOA, PFNA and/or PFHxS from the AFFF Defend"ants' AFFF have

reached and adversely affected surface water in New Hampsliire.

                                                   Biota

       227. Biota, including the flora and fauna of the State, are critical ecological resources.

New Hampshire is home to more than 400 endangered or threatened plant species and is home

for more than 500 species of vertebrate animals.




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         228.    Several threatened and endangered raptor species have difficulty breeding

 because of the bioaccumulation of toxic compounds.

         229.    PFOS has been detected in the eggs of loons in New Hampshire.

         230.    It is the duty of the State, through its Fish and Gaine Commissioners, to be the

 stewards of the fish, wildlife, and marine resources of the state of New Hampshire.

        231.     New Hampshire's biodiversity provides a wealth ofecological, social, and

 economic goods and services that are an integral part of the ecological infrastructure for cultural

 arid economic activity in the State.

        232.    Injuries to biota in New Hampshire negatively impact not only the individual

species directly involved, but the capacity of the injured ecosystems to regenerate and sustain

such life into the future.

        233.    New Hanipshire's fish, marine resources, and wild game provide a source of food,

as well as a significant economic benefit to the State through hunting and fishing licensing.

        234.    New Hampshire's wildli•fe and other natural resources provide signifcant

economic benefits to the S`tate thro.ugh tourism arid recreation.

        235.    PFOS; PFOA, RFNA and PFHxS from the AFFF Deferidants' AFFF have reached

and adversely affected biota in New I=ianSpshi"re.

                                        FIRST CAUSE OF ACTION
                                NEGLIGENCE = AFFF DEFENDANTS
        236.    The State repeats and restates the allegations set forth in all the previous

paragraphs of this Complaint as if fully set forth herein.

       237.     The AFFF Defendants had a duty to the State to exercise due care in the design,

manufacture, fonmulation, handling, control, disposal, promotion, marketing, distribution, sale,




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 testing, labeling; use, provision of product information and instructions for the use or disposal of

 AFFF.

         238.   The AFFF Defendants breached their duty of care in that they negligently,

 carelessly, andlor recklessly designed, manufactured, formulated, handled, labeled; provided

 product information and/or instructions for use and disposal ot marketed, promote.d,•sold,

supplied and/or otherwise distributed AFFF and directly and proximately caused, PFOS, PFOA,

PFNA arid/or PFHzS and their precursors to contaminate the State's property and`its

groundwater, surface waters, fish, wildlife, marine resources •and other natural resources thereby

causing a threat to huinan health and the environment.

         239. T'he AFFF Defeiidants designed, mariufactured, forinulated, handled, labeled,
                                                  i.
provided product information and/or instructions for use and disposal of, marketed, prornoted,

so'ld, supplied and/or otherwise di'stributed AFFF to downstream handlers, federal, state,

municipal and other fire departments, and other users of AFFF, when they knew, or should have

known, that PFOS, PFOA, PFNA and/or PFHxS would: (i) be released irito t;he environment

from the use or disposal of AFFF in the State; (ii) be released and contaminate.the State's

property and its groundwater, surface waters, fish, wildlife, marine resources and other •natural

resources; and (iii) threaten the health and welfare of the State's citizens.

        240. De'spite their knowledge that contamination with PFOS, PFOA, PFNA and/or

PFHxS from AFFF was the inevitable consequence oftheir conduct as alleged herein, the AFFF

Defendants failed to provide reasonable warnings or special instructions, failed to take other

reasonable precautionary measures to prevent or mitigate such contamination, anil/or

affirmatively misrepresented the hazards of AFFF in their product information and/or

instructions for use.


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                                                               lzrt,




         241.    As a direct and proximate result of the AFFF Defendants' acts and omissions as

 alleged herein, the State and its citizens, which it represents parens patriae, have suffered

 monetary losses arid dainages in ainounts to be proven at trial.

         242.   The AFFF Defendants are jointly and severally liable for the damages described

above.

                                   SECUND.CAUSE.OF ACTION
                            DEFECf~ ~I~VE ftSIGN = AFFF bEF'ENDANTS

         243.   The State repeats arid restates the allegations set forth in all the previous

paragraphs of this Complaint as if fully set forth hereiri.

         244.   For the reasons described above, tlie AFFF Defendants' AFFF were defectively

designed and were thereby urireasonably dangerous to users and consumers and/or.their property,

and the environment; at the tifne the products left Defendants' control.

         245.   The AFFF Defendants failed to inform users, consumers, intermediaries, the

State, and any party that cotild have effectively reduced the risk of harrn related to using AFFF,

of the products' character and.the care required to use and dispose of the products safely.

         246.   At all times relevant to this action, the AFFF was used in a manner in which it

was foreseeably intended to be used.

         247.   As a direct and proximate result of the AFFF Defendants' acts and omissions as

alleged herein, the State and its citizens, which it represents parens patriae, have suffered

monetary losses and damages in amouiits to be proven at trial.

       248. As a further direct and proximate result of the AFFF D"efendants' conduct, the

State, in its capacity as trustee over its surface waters and groundwater, fish, wildlife, and marine

resources has suffered and continues to suffer damage from the AFFF Defendants' conduct and

the presence of PFOS, PFOA, PFNA and PFHxS from the AFFF Defendants' AFFF in the

                                                 W
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 State's surface waters and groundwater, fish, wildlife, marine resources and other natural

 resources, including without limitation costs to assess, investigate, monitor, analyze, and

 remediate PFOS, PFOA, PFNA and PFHxS, to prevent PFOS, PFOA, PFNA and PFHxS from

 injuring additional public trust resources, and to restore or replace the State's impacted surface

 waters and groundwater, fish, wildlife, and marine resources whose use has been lost or

degraded.

        249.    The AFFF Defendants are strictly, jointly and severally liable for the damages

described above.

                                       .THI'RD. CAUSE:OFACTION
                             FAILURE TO WARN'= AFFF'DEFENDANTS

        250. The State repeats and restates the allegations set forth in all the previous

paragraphs of tliis Complairit as if fully set forth herein.

        251.    The AFFF Defendants represented, asserted, claimed and warranted that AFFF

did not require any different or special handling or precautions.

       252.     AFFF inanufactured and/or supplied by the AFFF Defend'ants are defective and

unreasonably dangerous products.

       253. The AFFF Defendants failed to provide adequate or effective warnings of the

risks of AFFF to users, consume "rs, intermediaries; the State, and any party that could have

effectively reduced the risk of harm related to using AFFF, of the products' character and the

care required to use and dispose of the product safely.

       254.    At all times relevant to this action, AFFF inanufactured and/or supplied by the

AFFF Defendants were used in a manner in which they were foreseeably intended to be used.




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         255. As a direct and proximate result of the AFFF Defendants' acts and omissions as

 alleged herein, the State and its citizens which it represents parens patriae have suffered

 monetary losses and damages in amounts to be proven at trial.

        256.    As a further direct and proximate result of the AFFF Defendants' conduct, the

 State, in its capacity as trustee over its surface waters and groundwater, fish, wildlife, and marine

 resources, has suffered and continues to suffer damage from the AFFF Defendants' conduct and

 the presence of PFOS, PFOA, PFNA and PFHxS from the AFFF Defendants' AFFF in the

State's surface waters and groundwater, fish, wildlife, marine resources and other natural

resources, including without limitation costs to assess, investigate, monitor, analyze, and

reniediate PFOS, PFOA, PFNA arid PFHxS, to prevent PFOS; PROA, PFNA and PFHiCS from

injuring additional public trust resources, and to restore or replace the State's impacted surface

waters and groundwater, fish, wildlife, and marine resources whose use has been lost or

degcaded.

        257.   The AFFF Defendants are strictly, jointly and severally liable for the damages

described above.

                                    FOURTH CAUSEOF. ACTION
                                  TRESPASS - AFFF'DEFENDANTS
       258.    The State repeats and restates the allegations set forth in all the previous

paragraphs of this Complaint as if fully set forth herein.

       259. The AFFF inanufactured and/or supplied by the AFFF Defendants affecting the

State's property and its groundwater, surface waters, fi"sh, wildlife, marine resources and other

natural resources constitutes a physical invasion of property without pernvssion or license.

       260.    The trespass of PFOS, PFOA, PFNA and/or PFHxS from the AFFF Defendants'

AFFF alleged herein has varied over time and has not ceased.

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         261.    PFOS, PFOA, PFNA and/or PFHxS from AFFF inanufactured and/or supplied by

 the AFFF Defendants coritinues to be located on or in the State's property and its groundwater,

 surface water, fish, wildlife, marine resources and other natural resources.

        262.     The AFFF Defendants intended to manufacture AFFF that contains PFOS, PFOA,

 PFNA and/or PFHxS and tlie AFFF Defendants knew with substantial certainty that their acts

 would contaminate State's property arid its surface waters and groundwater, fish, wildlife,

 marine resources and other natural resources.

        263.    The AFFF Defendants are therefore liable for trespass and contiiiued trespass.

        264.    The State has not consented to and does not consent to the trespass alleged herein.

        265.    The State brings this claim as the owner of property and interests in propeity, as

well as in both its public trustee and pdrens patrtae capacities.

        266.    The State has a duty
                                   , to protect and restore its natural resources and protect the

health and coriifort of its inhabitants.

        267.    In its parenspatriae capacity, the State may pr.otect its quasi-sovereign iriterests,

including the State's interest in the well=being of its populace, as well as the po.pulace's interest

in the integrity of the State's natural resources.

       268.     Accordingl.y, the State is bringing this action for the invasion of its own and a

substantial number of its resideiits' possessory interests in the State's resources.

       269. As long as the State's property and natural resources remain contaminated due to

the AFFF Defeiidants' conduct, the trespass continues.

       270.     As a direct and proximate result of the AFFF Defendants' acts and omissions as

alleged herein, the State and its populace, which it represents parens patriae, have suffered

monetary losses and damages in amounts to be proven at triaL


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         271. As a direct and proximate result of the AFFF Defendants' acts and omissions as

 alleged herein, the State is further entitled to an order requiring ~the AFFF Defendant§ to abate

 their ongoing tre"spass and a further order requiring the AFFF Defendarits to conduct such

 investigation, remediaf•ion, cleanup, restoration, removal, treatment and monito'ring actions as are

 necessary to prevent further trespasses and damages to the State's property and groundwater,

 surface waters, fish, wildlife, niarine resources and other natural resources.

        272.     The AFFF Defendants are strictly, jointly and severally liable for the damages

described above.

                                        FIFTH CAUSE.OF:ACTION
                         PUBLIC TRUST DO.CTRINE
                                         ~
                                                AFFF DEFENDANTS

        273.    The State repeats and restates the allegations set forth in all the previous paragraphs

of this Complaiiit as if fiilly.set forth'herein.

        274.    The State is the tru'stee of a public trust, the corpus of which includes, but is not

limited to, the State's surface waters, groundwater, fish, wildlife, and marine resources.

        275. As a direct and proximate result of the AFFF Defendants' conduct, as set out

above, the State's surface waters and groundwater, fish, wildlife, marine resources -and other

natural resources have been contaminated and/or iinpaired by PFOS, PFOA, PFNA and/or

PFHxS from AFFF supplied and/or manufactured by the AFFF Defendants, and their benefi.cia'1

uses and very existence have been degraded or eliminated.

        276.    As a f zrther direct and proximate result of the AFFF Defendants' conduct, the

State, in its capacity as trustee over its surface waters and groundwater, fish, wildlife, and marine

resources, has suffered and continues to suffer damage from the AFFF Defendants' conduct and

the presence of PFOS, PFOA, PFNA and PFHxS from the AFFF Defendants' AFFF in the

State's surface waters and groundwater, fish, wildlife, and marine resources, including without

                                                    kno
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 limitation costs to assess, investigate, monitor, analyze, and remediate PFOS, PFOA, PFNA and

 PFHxS, to pievent PFOS, PFOA, PFNA and PFHxS frdm injuring additional public ttust

 resources, afid to restore,or replace the StAte's iinpactdd siirface wateis afid gr6ufidtvater, fish,
                              I
wildlife, and marine resources 0hose iisiD has been lost or Oqgr Ad&d.

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                                          kk :Q-USE,61RAC74-40
                         DUPONT/CftEM6UR'S' LIAMOYMAIVOU
                                                       I NiTS 1-5
          277.    The StAte tdpeiits aftd r eis-iatd& the aftatiofis set -foAhin all tife previous

paiagraphs of this Conipliiijit as ff fully se.t forth hL+ein.

          278.    The'State asserts the sAme allegatioxis eind causes ot action ddscribed above in

couiits one tbi-ough five against DuP&t/Chemours to tho, extent thit their manufacture afid sAle

of fluorosurfactants or the. White t(i disclose the risksand -hatriis associatO with euse bf their

flubkosurfactants in the nignufactuie ofAPTF resulOd in:,dama$6 to the State a's:ddscn-'bed

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                               SEVENTHVI-AUSE OF ACTION
                       FRAUDULE9TI-kANSF-t-        XN# CHX-MO U,-',RS)

          279.    The State repeats and restates ithe alldgations set. fbrth in all thepteviops

paragraph;s of this Complaint as if fiilly set forth herein.

          280. The gtate seeks equitable and other relief pursuant to the Uniform Fraudulent
                                                                                      r


Transfei Act, RSA 545-A, against DUP-ont.

          281. As a rpsult of the traiisfer of assets and liabilities ddscribed in this CO-imlaint,

DuPont hinited the availability of ass4bts to cover judgements for aU of the hability for damages

and injuries from the manufacture of PFAS compounds and products that contain PFAS

conipounds.




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        282. DuPont has (a) acted with actual intent to hinder, delay and defraud parties or (b)

 without receiving a reasonably equivalent value in exchaiige for the transfer or obligation and (i)

 was engaged or was about to engage in a business for which tfie remairiing assets of Chemours

were urireasonably small in relation to the business; or (ii) intended to incur, or believed or

reasonably should have believed tliat it would incur, debts beyond his ability to pay as they

became due.

        283.    DuPont engaged 'in acts in furtherance of a scheme to transfer its assets out of the

reach of parties such as the State of New Hampshire that have been damaged as a result of the

DuPont's actions described in.this Complaint.

        284.   It is primarily DuPont, rather than Chemours, that for decades used, marketed and

sold PFAS compounds with tlie superiot -knowledge that they were toxic; mobile, persistent,

bioaccumulative, and:tiiomag.nifying and impacting the State's groundwater, surface water, fish,

wildlife, marine resources; arid other natural resources.

       285. At the time of the transfer of its Performance Chemicals Business to Chemours,

DuPont had been sued, threatened with .suit and/or had knowledge of the likelihood of litigation

to be filed regarding DuPont's liability for damages and injuries from the, rnanufacture of PFAS

compounds and products that contain-PFAS ,compounds.

       286. DuPont and Chemours acted without receiving a reasonably equivalent value in

exchange for the transfer or obligation, and DuPont believed or reasonably should have believed

that it would incur, debts beyond Chemours' ability to pay as they became due.

       287. At all times relevant to this action, Chemours has been insolvent because the

claims, judgment and potential judgments against it exceed Chemours' ability to pay.




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           288.    Pursuant to RSA 545-A:7, the State seeks to avoid the transfer of DuPont's

 liabilities for the claims brought in this Complaint and to hold DiiPont liable for any damages or

 other remedies that may be awarded by the Court or jury under this Corn "plaint.

        289.      The State further reserves such other rights and reinedies that may be available to

 it under RSA 547-A as may be necessary to fully compensate the State for the damages and

injuries it has suffered as alleged in this Complaint.

                               EIGHTH .CAUSE :OF.ACTION
                  ENHANCED COIVIPENSATORY`DAIVIAGES - ALL DEFENDANTS

        290.      The State repeats and restates the allegations set forth in all the previous

paragraphs of this Complaint as if fully set forth herein.

        291. The wrongful acts of Defendants as described herein were committed

intentionall.y, wantonly, maliciously and/or oppressively.

        292. Accordingly, the State is entitled to erihanced compensatory damages awarded in

each Count alleged in this Complaint.


                                            PRAYER F~OR.RELIEF

        WHEREFORE, the State request that this Court enter judgment against Defendants as

follows:

        A.        Finding all Defendants liable, jointly and severally, for all costs to investigate,

clean up, restore, treat, inonitor, and otherwise respond to contamiriation of the State's property

and its groundwater, surface water, fish, wildlife, marine resources, and other natural resources

so that such resources are restored to their original condition and are fit for their intended and

natural uses, and for all damages to compensate the citizens of New Hampshire for the lost use

and value of these resources during all times of injury caused by PFOS, PFOA, PFNA and/or

PFHxS from the Defendants' AFFF and/or DuPont/Chemours' fluorosurfactants, and for such
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 orders as may be necessary to provide full relief to address risks to the State, including the costs

 associated with:

         (1) the investigation, remediation, cleanup, restoration, removal, treatmeiit and

 monitoring related to the contamination of the State's property and its groundwater and surface

 water, fish, wildlife, marine resources; and other riatural resources;

        (2) the provision of potable drinking water where drinking water supplies have been or

will be contaminated;

        (3) the implementation of treatment technologies necessary to eliminate further injury to

soil, groundwater and surface water, sediment; fisli, wildlife, marine resources, and other natural

resources aiid to human health and the environrnent;

        (4) the safe and proper disposal of AF`FF;

        (5) the testing for and evaluation and treatment of contamiriation in public and private

wells and source water supplies contaminated, or potentially contaminated, from the use and

disposal of AF'FF; and

        (6) all such other costs and expenses that have been or will be incurred as a result of the

Defendants' acts or omissions as alleged in this Complaint.


        B.     Orde.ring all Defendants to pay all costs related to the investigation, cleanup,

restoration, treatment, and monitoring of PFOS, PFOA, PFNA and/or PFHxS contamiriation of

the State's property and its groundwater, surface water, fish, wildlife, marine resources, and

other natural resources firom the Defendants' AFFF and/or DuPont/Chemours' fluorosurfactants;

       C.      Ordering all Defendants to pay all damages in an amount at least equal to the full

cost of restoring the State's property and its groundwater, surface water, fish, wildlife, marine

resources, and other natural resources to their original condition prior to the PFOS, PFOA,


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 PFNA and/or PFHxS contamination from the Defendants' AFFF and/or DuPont/.Chemours'

fluorosurfactants;

         D.      Ordering Defendants to ,pay all compensatory damages for the lost value

(including lost use and existence value) of the State's property and its grouiidwater, surface

water, fish, wildlife, marine resources, and other natural resources as a result of the PFOS,

PFOA; PFNA and/or PFHxS contamitiation of such natural xesources from the Defendants'

AFFF and/or DuAont/Cheriiour's' fluorosurfactants;

        E.      Ordering all Defendants to pay all other damages sustained by the State in its

public trustee and parens patriae capacities as a direct arid proximate result of the Defendants'

acts and omissions alleged lierein;

        F.      Oidering tha't the State is entitled to avoid the transfer of DuPont's liabilities to

Cheinours and put the State in the position it would have been had the transfer not occurred;

        G.      Awarding the State enhanced compensatory damages in an amount to be

determiried at trial;

        H.      Awarding the State its costs and fees in this action,-including attomeys' fees,

incurred in prosecuting this action, together with prejudgnient interest, to the fu11 extent

permitted by law; and

       1.       Awarding the State such other relief as this Court deems appropriate.



                                           DEMAND FOR JURY

       'The State seeks a trial by jury on all counts and requests for relief in this Coniplaint.




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                                       Respectfully submitted,

                                       STATE OF NEW HAMPSHIRE

                                    By its attomey,
                                    GORDON J. MACDONALD
                                    ATTORNEY GENERAL

Date: May 29, 2019               By: /s/ K. Allen Brooks
                                    K A11en Brooks, Bar # 16424
                                    Senior Assistant Attorney General
                                    Christopher G. Aslin, Bar # 18285
                                    Senior Assistant Attorney General
                                    Environmental Protection Bureau
                                    New Harnpshire Dept. of Justice
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                                    Concord, NH 03301
                                   (603)271-3679
                                    k:allen:brooksna doj:nh o~v
                                    christopher: as lin(c~do j. rih.gov




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                                            Me   k County Sheriff s Office
                                              ~!MRIFF SCOTT E. HILLIARD
                                                        333 Daniel Webster Hwy
                                                         Boscawen, NH 03303
                                                         Phone: 603-796-6600




                              ,I



              3M COMPANY, INC.
              10 FERRY ST 313
              CONCORD, NH 0i3301
                              I




                                                  AFFIDAVIT OF SERVICE




                     MERRIMACKI,
                               ~ SS                                                         7/2/19
                                   ~
                                   ~

                  I, DEPUTY( GLENN E LARAMIE JR, on this date at il)`.2
                                                                        Ea.m. p.m.,
              summoned the within named defendant 3M COMPANY INC as within commanded, by
              leaving at the office of Registered Agent Corporation Service Company, 10
              Ferry Street,lSuite 313, Concord, said County and State of New Hampshire,
              its true and lawful agent for service of process under and by virtue of
              Chapter 293-A New Hampshire RSA, as amended, a true and attested copy of
              this Summons and Complaint.


              FEES

                 Service I $25.00
                 Postage ~ 1.00
                 Travel      15.00

              TOTAL                    j $41.00




                                                                        EPUTY GLENN E IIKRAMIE JR
                                                                   Merrimack County Sh riff's Office




                                                                               A Tnae Cop,y Att



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